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PROB 12C                                                                            Report Date: October 16, 2015
(7/93)

                                       United States District Court                               FILED IN THE
                                                                                              U.S. DISTRICT COURT
                                                                                        EASTERN DISTRICT OF WASHINGTON
                                                       for the
                                                                                             10/16/15
                                        Eastern District of Washington
                                                                                             SEAN F. MCAVOY, CLERK


                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Ashley D. Lizotte                        Case Number: 2:14CR00168-TOR-12
 Address of Offender:                                Spokane, Washington 99208
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Date of Original Sentence: July 7, 2015
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:       Prison - 1 day                    Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     George J. C. Jacobs, III          Date Supervision Commenced: July 7, 2015
 Defense Attorney:        Federal Defenders                 Date Supervision Expires: July 6, 2018

                                         PETITIONING THE COURT

                 To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           1&2          Special Condition # 16: The defendant shall abstain from the use of illegal controlled
                        substances, and shall submit to drug testing as directed by the supervising officer, but no
                        more than 6 tests per month.

            3           Standard Condition # 2: The defendant shall report to the probation officer and shall
                        submit a truthful and complete written report within the first five days of each month.

                        Supporting Evidence

                        Ashley Lizotte violated the terms of her supervised release in Spokane, Washington, on or
                        about September 21, 28, and 29, 2015.

                        On September 21, 2015, Ms. Lizotte failed to appear for a random urine test at Alcohol Drug
                        Education Prevention and Treatment (ADEPT). The offender was contacted by her
                        supervising U.S. probation officer via text messages. Ms. Lizotte responded and indicated
                        that she had been very ill and intended to go to the hospital that day.

                        On September 23, 2015, the supervising U.S. probation officer attempted a home visit at the
                        offender’s reported residence. A card was left on her door directing her to contact her
                        supervising U.S. probation officer.
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                 On September 24, 2015, the offender contacted the undersigned officer via text, and advised
                 she was still very ill and could barely walk. Ms. Lizotte advised she had not been to the
                 hospital yet. The undersigned advised her to report in person on Monday, September 28,
                 2015, to the probation office. Ms. Lizotte indicated she believed she may still be too ill. She
                 was advised to report to the U.S. Probation Office on September 28, 2015, unless she has
                 medical verification preventing her from reporting.

                 On Sunday, September 27, 2015, Ms. Lizotte sent a text message to her former U.S.
                 probation officer stating “I don’t want to be in this world anymore.” In response, her former
                 U.S. probation officer and the undersigned officer both sent text messages and made
                 attempts to call the offender without success. A request was made to local law enforcement
                 for a welfare check.

                 On September 28, 2015, the offender’s boyfriend called the U.S. Probation Office and
                 indicated the offender was fine, but had hurt herself after tripping. He further reported that
                 the offender intended on reporting that afternoon. Ms. Lizotte failed to report on September
                 28, 2015.

                 On September 29, 2015, the undersigned officer attempted to locate the offender at her
                 residence. Contact was not made at her home so a card was left in her door directing her to
                 report that same day. She later responded to a text and advised she would report the
                 following day. She again was directed to report that same day.

                 Ms. Lizotte reported as directed, and a urine sample was taken. The sample tested
                 presumptive positive for opiates. Ms. Lizotte produced a prescription bottle for
                 hydrocodone. The offender originally reported she had tripped and fell down, leading to an
                 injury requiring medical attention and being prescribed hydrocodone. She later admitted to
                 having an argument with a male friend who pushed her down. The sample was sent to the
                 lab for further testing.

                 On October 14, 2015, the undersigned officer received the lab report from Ms. Lizotte’s
                 September 29, 2015, urinalysis test. The lab confirmed the sample was positive for opiates
                 related to the hydrocodone prescription, and also confirmed the sample was positive for
                 methamphetamine.


          4      Special Condition # 17: You shall undergo a substance abuse evaluation and, if indicated
                 by a licensed/certified treatment provider, enter into and successfully complete an approved
                 substance abuse treatment program, which could include inpatient treatment and aftercare.
                 You shall contribute to the cost of treatment according to your ability to pay. You shall
                 allow full reciprocal disclosure between the supervising officer and treatment provider.

                 Supporting Evidence:

                 Ashley Lizotte violated the terms of her supervised release in Spokane, Washington, by
                 failing to attend required substance abuse treatment on September 21, 22, 24 and 28, 2015.

                 Ms. Lizotte began services at Frontier Behavioral Health on September 3, 2015. She was
                 expected to attend two group sessions and one individual session per week. She began
                 attending appointments as required, then reported being sick and failed to attend classes the
                 remainder of the month.
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                      On September 29, 2015, her missed appointments were addressed by the undersigned officer.
                      Ms. Lizotte resumed attending classes at Frontier Behavioral Health on October 1, 2015, and
                      has attended her required classes and individual sessions since then.


          5           Special Condition #15: The defendant shall complete a mental health evaluation and follow
                      any treatment recommendations of the evaluating professional which do not require forced
                      medication and/or inpatient confinement, absent further order of the court. Defendant shall
                      allow reciprocal release of information between the supervising officer and treatment
                      provider. Defendant shall contribute to the cost of treatment according to her ability to pay.

                      Supporting Evidence: Ashley Lizotte violated the terms of her supervised release in
                      Spokane, Washington, by failing to attend required mental health treatment during the month
                      of August 2015.

                      On September 29, 2015, her missed mental health sessions were addressed by the
                      undersigned officer. The offender advised she had scheduled an appointment with mental
                      health that same evening. Robert Shepard confirmed the offender re-engaged in mental
                      health services on September 29, 2015.

The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the defendant to
answer the allegations contained in this petition.

                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:      10/16/2015
                                                                             s/Melissa Hanson
                                                                             Melissa Hanson
                                                                             U.S. Probation Officer

 THE COURT ORDERS

 [ ]      No Action
 [9 ]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      Other
                                                                             Signature of Judicial Officer

                                                                            0DUPCFS 
                                                                             Date
